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                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF TEXAS
                                      FORT WORTH DIVISION

 THE NAUGHTYS LLC

          Plaintiff,

 v.                                                                 Civil Action No. 4:21-CV-00492-O

 DOES 1-580

          Defendants



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                           IN SUPPORT OF PRELIMINARY INJUNCTION


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